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                              EXHIBIT 11
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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CUTBERTO VIRAMONTES, et al.,                 )
                                             )
             Plaintiffs,                     )       No. 21 CV 4595
                                             )
     v.                                      )       Judge Rebecca R. Pallmeyer
                                             )       Magistrate Judge Susan E. Cox
THE COUNTY OF COOK, et al.,                  )
                                             )
             Defendants.                     )

            EXPERT REPORT AND DECLARATION BY PHIL ANDREW

  1. This report is based on my personal knowledge and experience, and if I am called as a
     witness, I could and would testify competently to the truth of the matters discussed in this
     report.

  2. All opinions contained herein are made pursuant to a reasonable degree of professional
     certainty.

  3. I am the Principal of PAX Group, LLC, a crisis, and conflict management consultancy
     that supports leaders and organizations as they navigate challenging circumstances and
     environments, including crisis planning and response, violence prevention, public safety,
     and investigations.

  4. In my professional capacity, I am called to provide consultation to organizations and
     communities, often specifically regarding how to prevent and respond to mass shooting
     incidents.

  5. I have a J.D. from DePaul University College of Law and a B.A. in History from the
     University of Illinois.

  6. I am an Adjunct Instructor of negotiation, business intelligence, leadership, and ethics at
     DePaul University’s Kellstadt Graduate School of Business and Department of
     Management & Entrepreneurship.

  7. I am an Adjunct Instructor of Crisis and Conflict Management and Policing with
     Compassion at Northwestern University Center for Public Safety.

  8. I am an Advisory Board Member for Chicago-Kent School of Law’s Center for a
     National Security and Human Rights Law.

  9. I am a licensed attorney in the State of Illinois.

                                                 1

                                                                   VIRAMONTES 003403
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      10. I am a licensed detective in the State of Illinois.

      11. I was Director of Violence Prevention for the Archdiocese of Chicago and responsible for
          supporting crisis planning and response, violence prevention, and community
          partnerships for its large private school system of 180 schools and 300 Parishes and
          coordinated efforts to triage social service responses services to violence-affected
          communities.

      12. I was employed as a Special Agent for the Federal Bureau of Investigation (FBI) for 21
          years in field offices in Kansas City, FBI Headquarters in Washington DC, New York,
          and Chicago.

      13. As Special Agent for the FBI, I was responsible for a broad range of investigations and
          assignments.

      14. I was certified as an FBI Crisis Negotiator and served on and led crisis response teams
          which deployed on domestic and international crises and trained state, local, and federal
          law enforcement officers in crisis response, including mass shooting incidents.

      15. As a Special Agent (FBI), I served throughout the U.S. and overseas, providing expertise
          in violence prevention, counterterrorism, counterintelligence, crisis management, hostage
          negotiation, crimes against children, undercover work, behavioral analysis, and broad
          investigative experience; I have led complex investigations and regularly deployed on
          domestic and international kidnappings and hostage-takings.

      16. In the last ten years, I have published three opinion editorials:
          https://chicago.suntimes.com/2022/5/3/23049317/compassion-in-policing-would-help-
          cops-communities; https://www.chicagobusiness.com/forum-ideas-police-reform/stress-
          coping-skills-vital-police-reform; https://www.dailyherald.com/discuss/20220717/how-
          we-can-stop-the-next-mass-shooting

      17. In the last four years, I have not given deposition or trial testimony in any case.

                                         Summary of Opinions

        Based on my experience, limiting access to assault weapons helps prevent criminals and
other individuals who pose a risk to themselves or others from killing and injuring others and
advances public safety without burdening a law-abiding citizen’s right to armed defense. Assault
weapons, as described in Cook County’s Blair Holt Assault Weapons Ban,1 in their conception,
design, capacity, marketing, and unlawful use have a highly disproportionate impact on public
safety and present a unique public safety threat.



1
    Cook County Code of Ordinances §§ 54-211 – 54-213.


                                                     2

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                                              Discussion

     1. As a public safety and crisis management professional, I primarily support communities
        and organizations in assessing, preparing for, and managing safety. Many of the
        organizations and communities I serve are concerned about the prevention and response
        to mass shootings. Although mass shootings are a relatively new phenomenon that
        statistically represents approximately two percent of the overall deaths due to firearms in
        the United States, it has tragic effects on individuals, organizations, and communities,
        including law enforcement. Mass shootings create terror and have profound and long-
        lasting trauma and economic impacts. Mass shooting attacks are particularly terrifying
        because of the limited ability organizations, communities, and law enforcement have to
        counter mass shooting attacks conducted with assault weapons. While safety from gun
        violence has always been a challenge in the United States for various reasons, the recent
        popularity of assault weapons is new but dramatically and disproportionately increases
        killings, and injuries. 2 From a public safety perspective, once an attack begins with an
        assault weapon, it is already worst-case scenario. In attacks involving assault weapons,
        death and severe injury is not avoidable but largely a matter of luck and fate.

     2. Assault weapons were initially offered for sale3 to the US civilian market without
        consumer demand and have been marketed without training as a tool for personal image
        enhancement and with a direct appeal to be like the military and police but without
        training, command structure, safety, responsibility, or ethics4.

     3. While most estimates indicate assault weapons represent only 1/20th of the firearms in
        private possession in the United States, 5 assault weapons have had a disproportionate and
        highly negative effect on public safety over the past 20 years.

2
  The Militarization of the US Civilian Firearms Market,” Violence Policy Center, June
2011, http://www.vpc.org/studies/militarization.pdf; Christopher S. Koper, Daniel J. Woods, and Jeffrey
A. Roth, “An Updated Assessment of the Federal Assault Weapons Ban: Impacts on Gun Markets and
Gun Violence, 1994–2003,” National Institute of Justice, US Department of Justice, June 2004.
3
  In 1984, Guns & Ammo advertised a book called “Assault Firearms,” which it said was “full of the
hottest hardware available today.” “The popularly held idea that the term ‘assault weapon’ originated with
antigun activists, media or politicians is wrong,” Mr. Peterson wrote. “The term was first adopted by the
manufacturers, wholesalers, importers, and dealers in the American firearms industry to stimulate sales of
certain firearms that did not have an appearance that was familiar to many firearm owners. The
manufacturers and gun writers of the day needed a catchy name to identify this new type of gun.”
https://www.nytimes.com/2013/01/17/us/even-defining-assault-weapons-is-
complicated.html?smid=nytcore-ios-share
4
  The Gun Industry Created a New Consumer. Now It’s Killing Us. - The Atlantic - gun company is
marketing a powerful new rifle to civilians, a report says, amid ongoing debates about gun control
following a string of deadly mass shootings. SIG Sauer's MCX-Spear is the civilian version of the US
Army's NGSW-R (Next Generation Squad Weapon-Rifle), "It'll shoot through almost all of the
bulletproof vests worn by law enforcement in the county right
now," https://www.businessinsider.com/gun-sold-to-civilians-sig-sauer-mcx-spear-2022-
7?utm_medium=social&utm_source=facebook.com&utm_campaign=sf-insider-
news&fbclid=IwAR3eRzoL8aizs-qRM3Ss9tJ1QJkEmd4mD-jjJCMZnqyEUBiSh7RkEA8wi30
5
  https://www.nssf.org/articles/nssf-releases-most-recent-firearm-production-figures/
                                                    3

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     4. Targeted marketing by the firearms industry and lobby and assault weapon
        manufacturers, as well as the dominant use of assault weapons by perpetrators of mass
        shootings have contributed to assault weapons like the AR-15 design to be the weapon of
        choice in 85 percent of the deadliest mass shootings, shootings resulting in four or more
        victims.6 The largest firearm industry association, the National Shooting Sports
        Association, refers to the most popular assault weapon used in mass shootings as
        “America’s rifle.” 7

     5. Additionally, domestic terrorists, extremists and private militias with hate-related
        ideologies are attracted to and encouraged to acquire assault weapons based the assault
        weapons’ unique characteristics,8 further degrading public safety and national security.9

     6. Many of the perpetrators of targeted violence seek to arm themselves with assault
        weapons because of their ease in use with limited professionally supervised training, high
        capacity, effectiveness at a distance, and because they are marketed as military police-
        styled weapons – they seek to look cool, intimidate, and embrace the appeal of being a
        military or police wannabee due to intentional marketing tie-in by manufactures. 10

     7. Studies estimate that an assailant with an assault rifle is able to kill and injure twice the
        number of people compared to an assailant with a non-assault rifle or handgun.11 This,
        coincides with the sharp increase in mass shootings and the related casualties, 12
        representing a significantly increased public safety threat and a decreased ability to
        effectively stop and respond to attacks with assault weapons without significant
        casualties and injuries.

     8. Despite assault weapons’ disproportionately high impact on public safety, increased
        threat to law enforcement, and dominant use in mass shootings, the assault weapons
        manufacturer industry continues to design, manufacture, and sell new, more powerful

6
  Charles DiMaggio et al., “Changes in US Mass Shooting Deaths Associated with the 1994–2004 Federal
Assault Weapons Ban: Analysis of Open–source Data,” Journal of Trauma and Acute Care Surgery 86,
no. 1 (2019): 11–19. https://www.thetrace.org/2017/06/physics-deadly-bullets-assault-rifles/
7
  https://www.nssf.org/msr/
8
  https://www.law.georgetown.edu/icap/wp-content/uploads/sites/32/2018/04/Prohibiting-Private-Armies-
at-Public-Rallies.pdf
9
  In 2017 former Director of the National Counterterrorism Center, Nicholas Rasmussen, warned 2017,
“We find ourselves in a more dangerous situation because our population of violent extremists has no
difficulty gaining access to weapons that are quite lethal.” In 2021, FBI Director Christopher Wray,
testified that racially motivated violent extremism was “the biggest chunk of our domestic terrorism
portfolio” overall, with “militia violent extremists” trending.
10
   Attackers who espoused white-supremacist beliefs, like the man charged with killing 11 people at the
Tree of Life synagogue in Pittsburgh in 2018 and another accused of killing more than 20 people at a
Walmart in El Paso in 2019, used semiautomatic firearms. So did the white-supremacist gunman who
killed nine Black worshipers at a church in South Carolina in 2015.
11
   Elzerie de Jager, et al., “Lethality of Civilian Active Shooter Incidents With and Without
Semiautomatic Rifles in the United States,” JAMA 320, no. 10 (2018): 1034–1035.
12
   https://www.newsweek.com/us-gun-problem-explain-5-graphs-shootings-1714250#slideshow/2054831
                                                   4

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         versions of assault weapons, 13 a pattern that former firearm industry executive Ryan
         Busse attributes to irresponsible, blind greed. 14 Firearm industry leaders continue this
         strategy despite their recognition of a national environment of increased individual stress,
         insufficient coping skills, anger, and mental illness, that heightens the public safety risk
         of mass shooting attacks with assault weapons. 15

Assault Weapon Attacks Create an Unmitigable Public Safety Threat to Public Venues,
Schools, and Law Enforcement

      9. Assault Weapons in their conception, design, capacity, marketing, and unlawful use have
         a highly disproportionate impact and present an unmitigable public safety threat for
         organizations, communities, and law enforcement. 16

      10. In response to increased mass shootings at schools, workplaces, and public venues,
          mitigating the threat of an active shooter incident is the top priority for law enforcement
          and crisis planning and response professionals. The general public and particularly large
          public venue events, schools, and workplaces are at greater risk today due to the limits of
          reasonable and practical law enforcement and crisis planning efforts to mitigate the threat
          of an individual or group using assault weapons to attack.

      11. The threat of assault weapons attacks now requires crisis planning for large public and
          private venue sites to conduct significant pre-event planning, including the clearing and
          securing of large areas and rooftops, constant monitoring by drones and video cameras, a
          command center, pre-event and constant intelligence gathering, barricading of roadways
          with large industrial trucks and significant and constant law enforcement presence. Based
          on my experience, these situations require large-scale planning and staged first responder
          resources, contingency plans, extended crisis site perimeters, immediate presence of
          tactically trained swat teams with special weapons and ceramic and metal plated body


13
   https://www.businessinsider.com/gun-sold-to-civilians-sig-sauer-mcx-spear-2022-
7?utm_medium=social&utm_source=facebook.com&utm_campaign=sf-insider-
news&fbclid=IwAR3eRzoL8aizs-qRM3Ss9tJ1QJkEmd4mD-jjJCMZnqyEUBiSh7RkEA8wi30
14
   Ryan Busse Gun Fight – a Battle Against the Industry that Radicalized America, 2021
15
   Industry leaders recognize and testify to their knowledge and belief that there has been an erosion of
personal responsibility – acts are committed by criminals, wicked people, and murders – which they state
they have no ability to keep from, take away or stop from killing with the assault weapons they design,
manufacture, and sell. https://www.nytimes.com/video/us/politics/guns-house-assault-weapons-makers-
testify.html?smid=nytcore-ios-share&referringSource=articleShare
16
   These design features create the ability to quickly lay down a high volume of fire, making
semiautomatic assault weapons a particularly dangerous addition to the civilian gun market. This is why
assault weapons are favored by terrorists, mass killers, and violent criminals, and they distinguish such
weapons from true hunting and target guns. Deliberate, aimed fire from the shoulder may be more
accurate than the spray-firing for which assault weapons were designed. But mass murderers and other
violent criminals drawn to assault weapons are not after marksmanship medals. They want to kill or maim
as many people as possible in as short a time as possible - the exact job for which the semiautomatic
assault weapon was designed. https://vpc.org/wp-content/uploads/2018/06/Assault-weapon-primer-2017-
VPC.pdf; https://www.npr.org/2018/02/28/588861820/a-brief-history-of-the-ar-15
                                                   5

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          armor gear, tactical shields, and armored vehicles. These elements and tactics take time
          and significant resources few departments can provide on their own.

      12. These kinds of emergency response plans still rely heavily on an officer's mindset to run
          at gunfire after it has begun, placing law enforcement officers and others at greater risk
          than non-assault weapons-involved attacks.

      13. Perpetrators of mass shooting attacks with assault weapons do not need a high level of
          firearm proficiency, professional training, or practice to inflict mass death and injury at
          close and longer ranges because they are able to fire rapidly with high-capacity
          magazines and remain accurately at ranges well beyond 100 yards with little skill
          development.
      14. An assault weapon transforms terrorists, criminals, deranged people, or disconnected
          teens with poor coping skills and intent to kill into killing machines. Very little
          preparation, training, or skill acquisition under qualified instruction is required. This
          significantly limits pre-incident intervention opportunities that could happen during a
          training and preparation phase of an attack.

      15. Though all mass violence is devastating to communities and first responders, mass
          shooting attacks with assault weapons are particularly physical and emotionally
          traumatic. 17 The impact on immediate victims shot in an assault weapon attack has
          distinctively physical devastation to victims and long-lasting traumatic impact on
          survivors within a larger vicinity. Victims are often unrecognizable. Assault weapon
          wounds are uniquely complex.

      16. The widely endorsed active shooter Run, hide, and fight response has limitations based
          on the crisis environment, the mindset of situational leaders, age and capacity of those
          participating, the attackers’ preparation, surprise, and position, and still results in death
          and injury with even with training and practice. 18

      17. In my experience, all crises are dynamic, chaotic, stressful, and confusing, even with
          preparation and training. Mistakes will happen. The impact of mistakes in assault
          weapon-involved shooting attacks is amplified by the increased capacity, power, and
          range of assault weapons.

Disproportionate Impact On Law Enforcement Response, Tactics, Mindset, and Trauma

      18. Assault weapons pose a disproportionate risk to law enforcement. One out of five law
          enforcement officers slain in the line of duty in 2016 and 2017 were killed with an assault
          weapon. In 2016 and 2017 (the most recent years for which information is available) 109
          U.S. law enforcement officers were slain in the line of duty. Of these, 25 (23 percent)


17
     https://www.npr.org/2022/06/06/1103177032/gun-violence-mass-shootings-assault-weapons-victims
18
 https://www.researchgate.net/publication/333292303_AGENT-
BASED_MODELING_TO_ASSESS_THE_EFFECTIVENESS_OF_RUN_HIDE_FIGHT
                                                     6

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         were killed with an assault weapon. In six of these 25 deaths, a bullet penetrated the
         officer’s body armor. 19

      19. Law enforcement response, armed security, and concerned citizen response have proven
          to be slow for the few minutes that assault weapon attacks transpire and have low
          effectiveness in preventing death and injury in confrontations involving assault weapons.
          FBI long-trend reports from 2000-2019, determined that 119 of 345 active shooters
          incidents ended with the attacker committing suicide, 119 were apprehended by police
          after shooting people and law enforcement, 67 were killed by law enforcement after
          people and law enforcement were shot, and five perpetrators were still at large. In only
          four cases did citizens kill the shooters, again after others were shot. 20 Attacks with
          assault weapons result in death and injury even with on-duty and off-duty law
          enforcement, armed security, and lawfully armed citizens present or in immediate
          vicinity or response. 21

      20. Traditional law enforcement tactics are proving inadequate to mitigate the threat posed by
          assault weapons in criminal hands and even in the hands of people not previously
          convicted of violent crimes. Law enforcement serving court-authorized warrants have
          been ambushed. In 2021, two FBI Agents were killed, and three others were injured when
          fired on through a doorway by a subject with an assault weapon. The attack ended with a
          SWAT truck ramming the subject’s dwelling and driving through into staircase railings to
          counter the assault weapon’s firepower. 22 This individual did not have a prior violent
          criminal record. Law enforcement response to assault weapon-involved attacks requires
          highly aggressive officer responses, including specialized weapons, the surging of
          personnel, increased perimeters, and the mindset to undertake the force of violent action.
          These incidents increasingly require the tactics such as charging structures with armored
          vehicles, use of explosives, robots, and drones with explosives.

      21. Law enforcement and other persons attempting to defend themselves or others require
         significant skills, training, practice, and coordinated movement and action to defend and
         eliminate the active threat of a shooter with an assault weapon, particularly if the
         perpetrator is well positioned behind protective cover preventing a direct line of fire from
         defenders. Assault weapons in untrained hands can easily kill a large number of people
         with little or no training and preparation. The good guy with a gun actually requires

19
   https://www.ojp.gov/ncjrs/virtual-library/abstracts/cop-killers-assault-weapon-attacks-americas-police ;
Information for the VPC analysis was obtained from the Federal Bureau of Investigation (FBI) under the
Freedom of Information Act (FOIA) along with data published by the FBI’s Law Enforcement Officers
Killed & Assaulted Program for 2016 and 2017. Source: Unpublished FBI data, Law Enforcement
Officers Feloniously Killed in the Line of Duty During 2016 and 2017, Type of Weapon, the most recent
years for which information is available, excludes Puerto Rico; Bullets from assault rifles penetrated
officers protective body armor in incidents in California, Texas, Missouri, and New York, FBI 2016 and
2017 Law Enforcement Officers Killed & Assaulted reports.
20
   https://www.fbi.gov/file-repository/active-shooter-incidents-20-year-review-2000-2019-
060121.pdf/view
21
   https://www.nytimes.com/interactive/2022/06/22/us/shootings-police-response-uvalde-buffalo.html
22
   https://www.nytimes.com/2021/02/02/us/fbi-shooting-sunrise-florida.html
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         significant training and expertise to confront an attacker safely and still rarely has the
         opportunity to respond under the surprise circumstances. The armed citizen narrative
         promoted by the firearms industry is inaccurate in the face of an AR-15, as demonstrated
         in ten minutes of unreturned fire at the 2017 Las Vegas Concert attack in which 200 law
         enforcement officers where present.23

      22. As demonstrated in the 2007 Las Vegas concert attack, a well-placed attacker with an
          assault weapon is devastatingly effective and decreases the opportunity for effective law
          enforcement response. Such scenarios also limit escape and protective cover for civilians
          and law enforcement and require extraordinary law enforcement response measures,
          including training, equipment, additional personnel, an aggressive mindset, and luck.

      23. Based on my experience, law enforcement officers are under profound stress and are
          increasingly aware of the higher rate of deaths and injuries of officers due to assault
          weapons, a factor in stress, mental health, recruitment, retention, and performance and
          well-being of officers. Assault weapons are being used to target and kill law
          enforcement.24 Law enforcement officers are increasingly aware of the fact that not all
          body armor provides adequate protection in a shoot-out.25 The targeting of law
          enforcement with assault weapons, among other factors, has contributed to law
          enforcement agencies' ineffective retention and recruitment of diverse personnel to
          engage and relate to serving varied community needs.

No impact on Responsible, Law-abiding Citizen Self-Defense

      24. Based on my experience as a federal Agent, a public safety professional, and my
          longtime familiarity with the local community and environment as a resident of Cook
          County, the Cook County’s Blair Holt Assault Weapons Ban poses no increased burden
          on law-abiding citizens’ rights and ability to armed self-defense.

      25. There are other more suitable firearm choices for personal defense in the most likely but
          still rare circumstances armed self-defense is justified. Though specific data is lacking,
          most confrontations involving gunfire are at close range. In fact, most law enforcement
          agencies weigh their firearm training qualification course shooting protocols to
          emphasize the 3-10 yard line of fire. Illinois’ Conceal Carry Weapon qualification course
          which requires thirty rounds to be fired at intervals shooting ten at the five-yard line, 10




23
   https://www.chicagotribune.com/nation-world/ct-california-police-las-vegas-shooting-20171026-
story.html ; https://www.nytimes.com/2017/10/02/us/las-vegas-shooting.html ;
https://www.thetrace.org/newsletter/las-vegas-mass-shooting-nra-good-guy-with-a-gun/
24
   https://www.thetrace.org/2016/07/dallas-police-shooting-5-things-to-know-now/
25
   Anything that fires .223 (AK) or 7.62 (AR) defeats traditional patrol Level II body armor. The gun
industry produces AK and AR pistols that do the same thing. These cut down models don’t have the
barrel length to fire a round at around 3000fps like a rifle but at 1200-1500fps they fire at a speed that
exceeds traditional pistol rounds that are typically well below 1000fps.
                                                      8

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          at the seven-yard line, and ten at the ten-yard line recognizing that most armed defense
          takes place within 3-7 yards.26

      26. As with on-scene and immediately responding law enforcement, legally armed civilians
          and private security have had limited impact in stopping assault weapon attacks. SEE 16.
          Armed citizens are taken by surprise, outgunned, and maneuvered by an attacker already
          killing and injuring others and unable to effectively defend against an assault weapon. Of
          active shooter incidents analyzed, only sixteen percent ended with a civilian killing the
          attacker. SEE 16.

      27. Assault weapons have been marketed to make civilians feel empowered to counter
          attackers. In reality, it requires a lot of training, practice, and technical experience that
          even Law enforcement officers have difficulty implementing in crisis environments.
          Civilians are often untrained and practiced under the supervision of certified
          professionals and motivated to acquire assault weapons based on self-image, media,
          glamour, lack of agency over their own lives, misperceived threats, and risk, and
          particularly those lacking sufficient social and coping skills, anger management, or
          suffering acute mental illness, present a greater public safety risk with an assault
          weapon.

      28. Firearms are an effective tool for self-defense, both for law enforcement and civilian use.
          However, there is a difference between those trained to kill in combat like the military
          and those that think they can kill due to mass culture and firearm industry portrayal. The
          paradox is that many poorly or entirely untrained individuals would not be able to use a
          firearm to defend themselves. In his book On Killing, author David Grossman makes a
          compelling case that one person taking another’s life is much more difficult in practice
          than is portrayed in popular culture, particularly for individuals who have not benefited
          from operant conditioning training methodologies employed by the military and civilian
          police agencies 27

      29. The effective implementation of armed defense relies more heavily on factors related to
          understanding the law and environment, discipline, training, state of mind, knowledge,
          skills, and practice with a particular firearm, vigilance, situational awareness, time,
          access, and opportunity, size and location of dwelling, understanding implications of
          over-penetration risk, bystanders' location and skills, protective cover and luck than
          access to an assault weapon. All of these factors being even, the best insights indicate that
          shotguns and 9mm pistols are generally recognized as the most suitable and effective
          choices for armed defense.




27
     David Grossman, retired lieutenant colonel in the United States Army. On Killing, October 1995


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                                            Conclusion

It is my opinion that assault weapons, as defined in Cook County’s Blair Holt Assault Weapons
Ban, pose a greatly increased risk to individuals, communities, and institutions, and significantly
increase the threat to and burden on law enforcement, organizations, and communities while
offering little to no benefit to legal and responsible armed self-defense.




Pursuant to 28 USC §1746, I declare under penalty of perjury that the foregoing is true and correct.

Executed on September 14, 2022




                                              ____________________

                                              Phil Andrew




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                                                                                  Phil.Andrew@Me.com
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                                                                                                          600 Green Bay Rd




                                            Phil Andrew
                                                                                                        Kenilworth, IL 60043




                                         Leader in Violence Prevention, Negotiation, & Community Safety



Experience                                                                                         Education
PAX Group, LLC - Principal and Founder				                                                         DePaul University
2018 – Present                                                                                     College of Law		
Providing diverse and effective consulting to leaders and organizations around crisis              1995 - J.D.
management and team resiliency. Creates and facilitates safe space conversations,
assessments, and trainings in order to provide organizations the ability to engage
challenging circumstances and conversations and to build resiliency in order to achieve            University of Illinois
better outcomes. Provides crisis planning and response, investigation management and               1990 - B.A. History &
fact finding, facilitation and team building, project management, and conflict resolution in       Political Science
challenging and dynamic environments.

DePaul University - Adjunct Instructor 				                                                        Subject Matter
2015 - Present
Instruction graduate level MBA Negotiation, Business Intelligence, Leadership and Ethics           Expert
courses at DePaul University’s Department of Management & Entrepreneurship.                        •   Violence Prevention and
                                                                                                       Safety
Archdiocese of Chicago - Director of Violence Prevention
                                                                                                   •   Crisis Planning, Response,
2018 – 2020                                                                                            and Communication
Led one of the largest Archdioceses and private school system in the nation violence
prevention mission and safety initiatives. Responsible for all aspects of safety, programs,        •   Gun Violence, Workplace
and collaborative partnerships across the spectrum of social services addressing all                   Violence, School Violence,
aspects of violence and responses Catholic agency response. Provided counsel to the                    Community Violence
Archbishop on matters related to safety and violence. Led a coalition of inter-religious           •   Law Enforcement, FBI,
communities in advocacy and awareness for violence prevention.                                         Crime, Police Reform,
                                                                                                       School Resource Officers,
Federal Bureau of Investigation - Special Agent				                                                    Police Abuse, Complex
1997 - 2018: Chicago, Illinois; New York, New York; Topeka, Kansas                                     Investigation, Government
                                                                                                       Fraud
FBI Chicago Division, 2011 – 2018
Focus areas: Intelligence, Public Corruption, Gun Violence, Financial Fraud,                       •   Terrorism & Counterter-
Counterterrorism, Counterintelligence and Crisis Management, Behavior Analysis, and                    rorism, Counterintelli-
Covert Operations. Key roles and responsibilities include:                                             gence, National Security
                                                                                                   •   International, Corporate
    Human Intelligence Branch                                                                          and Political Espionage
    Responsible for identifying and creatively fulfilling intelligence requirements through        •   Spying Insider Threats
    liaison and overt and covert techniques. Function as an internal consultant managing
                                                                                                   •   Threat Analysis, Social
    special projects, establishing best practices, and developing and maintaining strategic
                                                                                                       Media Threat and Violence,
    relationships. Train and mentor team members and manage complex investigations.
                                                                                                       Stalking, Behavior Analysis
    Crisis Negotiation Team Leader                                                                 •   Hostage Taking, Inter-
    Provide day-to-day leadership and management of hostage negotiations. Responsible                  national Kidnapping and
    for high risk and sustained engagement, decision making in complex and dynamic crisis              Ransom
    environments. Brief and advise senior management, victims’ families, and corporate             •   Business Negotiation and
    leadership on status and options on a move-forward basis. Responded successfully to                Crisis Communication
    numerous domestic and international kidnapping/ransom incidents demanding timely
    implementation of negotiation strategy and national and international coordination.            •
                                                                                                Background Checks,
                                                                                      VIRAMONTESTravel
                                                                                                 003413and Personal Safety,
                                                                                                Corporate Security
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Phil Andrew: Leader
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        Joint Terrorism Task Force                                                                  Service &
        Managed and directed FBI Joint Terrorism Task Force Investigations. Led, trained, and
        mentored a team of special agents, TFOs, and analysts in criminal and national
                                                                                                    Leadership
        security investigations, resulting in critical intelligence, disruptions and arrests.       Community Sense, Social
                                                                                                    Media Violence Intervention
        Adjunct Instructor and Presenter
                                                                                                    Platform - Board Member
        Designed and presented training and instruction in negotiation, crisis negotiation and      2015 - Present
        management, terrorism, interviewing, interrogation, major case management, and violent
        and sex crime investigations for the FBI Academy and numerous other major law
                                                                                                    Ouilmette Foundation for
        enforcement organizations.
                                                                                                    the Parks - Board Member
                                                                                                    2015 - Present
    FBI New York Office, 2003 – 2011
    Focus areas: National Security, Crisis Management, and Rapid Deployment Team. Key roles
    and responsibilities included:                                                                  Wildcat Aquatics Age Group
                                                                                                    Swimming Team, Evanston,
        Covert Operations and Project Manager                                                       IL – Coach
        Managed and directed FBI covert operations. Functioned as an internal consultant            2011-Present
        providing subject matter and operational expertise in national security cases. Coordinat-
        ed with U.S. Intelligence community stakeholders including CIA, DHS, Commerce, and          Loyola Academy, Quo Vitas
        DOS. Selected, led and mentored a team of special agents and analysts for customized        Keynote and Hall of Fame
        operations, providing critical and actionable information for the intelligence community    Committee
        and policy makers. Consistently recognized and awarded for creative and substantive         2011-Present
        contributions and best practices.
                                                                                                    Illinois Governor JB
        Crisis Negotiation Team Coordinator                                                         Pritzker – Public Safety
        Trained hundreds of LEOs nation-wide and internationally. Day-to-day leadership and         Transition Committee
        management of an enhanced team of hostage negotiators, developed SOPs, and                  2019
        served as primary negotiator in numerous international kidnappings.
                                                                                                    City of Chicago Violence
        Instructor and Presenter
                                                                                                    Reduction Working Group
        Designed and presented training for the FBI Academy, John Jay College, New York City        2018-2020
        Police Department, West African Police, and numerous other international law
        enforcement organizations in crisis negotiation. Trained hundreds of local and state        Chicago Mayor Lori
        law enforcement officers in crisis response, critical incident management, active
                                                                                                    Lightfoot – Public Safety
        listening and negotiation. Keynote speaker at numerous national and international
                                                                                                    Transition Committee
        Crisis and Hostage Negotiator Conferences.
                                                                                                    2019
    FBI Kansas City Division, Topeka Resident Agency, 1997 – 2003
    Roles and responsibilities included:                                                            Badger Age Group
        Case Agent                                                                                  Swimming Team,
                                                                                                    Larchmont, NY – Coach
        Conducted investigations of federal crimes, counterterrorism and counterintelligence.       2006-2011
        Led broad range of successful investigations from initial response to conviction,
        including evidence collection, lead coverage, interviews and interrogations. Developed
                                                                                                    Headquarters Counseling,
        exceptional liaison relationships with multiple agencies fostering a cohesive team
        approach to investigations. Specific expertise in bank robberies, economic espionage,
                                                                                                    Lawrence, KS - Board Vice
        computer intrusions, violent crimes to include child abductions, drug and gun crimes.       President
                                                                                                    2000-2003
        Relief Supervisor
        Mentored and trained new agents and established effective liaison with mission              Center for Conflict
        partners. Responsible for all aspects of squad’s operational activity, including briefing    Resolution, Chicago, Illinois
        senior management, approving investigative reports, fulfilling procedural and legal         - Mediator
        requirements, and internal and external communication.                                      1994-1997



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Phil Andrew: Leader
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       Program Development and Case Management
                                                                                                    Service &
       Received FBI Merit Awards for the proactive development and management of a
       complex multi-agency undercover investigation requiring extensive coordination with          Leadership
       Division heads and representatives of the FBI and CIA and DHS. Program was
                                                                                                    (Continued)
       recognized as a national model of successful interagency cooperation.
                                                                                                     Illinois Council Against
       Joint Terrorism Task Force (Topeka, KS)
                                                                                                     Handgun Violence - Board
       Responsible for developing and directing regional JTTF. Selected, managed and trained         Chairperson
       task force officers in terrorism and national security investigations. Established and        1995 - 1997
       maintained extensive liaison with local, state, and federal law enforcement and
       intelligence counterparts. Interfaced effectively with a wide network of corporate,
                                                                                                     Chicago Bar Association -
       community, and religious leaders - developing a comprehensive knowledge base and
       threat matrix analysis.                                                                       Criminal Law and
                                                                                                     Legislation Committees
       Assistant Legal Attaché, FBI Legat (Cairo, Egypt)                                             1996-1997
       Responsible for developing and directing regional JTTF. Selected, managed and
       Supported high-priority criminal and major terrorism investigations. Briefed senior           Loyola Academy, Wilmette,
       Egyptian law enforcement and U.S. Embassy personnel on fast-developing                        Illinois - Case Statement
       investigations. Coordinated investigative efforts with foreign law enforcement and            Committee
       FBIHQ.                                                                                        1993

       Supervisory Special Agent                                                                     Illinois Firearm Transfer
       National Infrastructure Protection Center, FBIHQ. Coordinated the investigation of and        Identification - Governor’s
       developed comprehensive guidelines for national and international computer intrusion          Blue-Ribbon Committee
       investigations. Prepared briefs for the FBI Director on major Cyber case developments.        1992 - 1994
       Presented to DOJ a complex computer fraud and Economic Espionage Act case for
       prosecution.
                                                                                                    Honors
   Chicago Housing Authority – Assistant General Counsel                                             U.S. House of
   1995-1997                                                                                         Representatives Award
                                                                                                     for Outstanding Courage &
       Litigation and Counsel
                                                                                                     Heroism
       Served as general and litigation counsel for one of the largest public housing entities in
       the country. Provided counsel in commercial and real estate transactions. Drafted and         Illinois State Bar
       executed contracts and corporate fillings. Represented the CHA in numerous tort and           Association Service
       eviction cases. Managed high-volume case load and tried bench and jury trials.
                                                                                                     Award
       Researched, drafted, and argued motions before the court. Conducted numerous
       arbitrations, mediations, and depositions.
                                                                                                     CIA Outstanding Service
       Program Development                                                                           Award
       Developed and implemented innovative training program for CHA police and housing
       development managers in the implementation of standardized procedures in violence             Numerous FBI Service,
       reduction strategies and for-cause eviction processes for drug, weapons, and violence         Achievement, and Merit
       cases.                                                                                        Awards

   Illinois Council Against Handgun Violence, Inc. - Executive Director                              NCAA Valor Award
   1992-1995                                                                                         Nominee
       Executive Management                                                                          George Huff Athletic/
       Responsible for overall leadership and management of the nonprofit. Reported to and           Academic Award
       advised the Board of Directors. Developed and directed all programs, fundraising,
       budget, public relations, and strategic planning. Managed staff and volunteers.               Captain of University of
       Oversaw expansion of public education programs, with funding, publicity and                   Illinois Swim Team
       membership increasing by a factor of 10. Successfully presented dozens of funding
       proposals to corporate and community foundations including the Joyce Foundation
                                                                                                 Loyola Academy Athletic
       and The Chicago Community Trust.
                                                                                         VIRAMONTES
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                                                                                                         Fame
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Phil Andrew: Leader in Violence Prevention, Negotiation, & Community Safety                                                4
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         Public Policy and Public Relations
                                                                                                    Contact
         Developed a complete public education and legislative strategy, including the drafting
         of legislation. Regularly provided testimony, addressing community and religious           Phil.Andrew@Me.com
         organizations, including the Illinois Senate, U.S. Congressional Hearing on Violence       (914) 275-5812
         in America, and the National Safety Council. Served as a Panel Expert, ABC’s Good          600 Green Bay Rd
         Morning America, Round Table Discussion of Parental Liability. Extensive debate and        Kenilworth, IL 60043
         live television and radio interview experience, including Oprah, Donahue, and Frontline.
         Recognized for innovative litigation strategy directed at curbing firearm violence.

         Community Outreach and Coalition Building
         Developed and coordinated grassroots lobbying initiatives and oversaw broad-based
         regional coalition-building projects. Efforts focused on public awareness and
         implementation of evidence-based violence reduction strategies, securing over 100
         professional and community member organizations.




     Training & Speaking Engagements
     Adjunct Instructor and Presenter
     Design and present training and instruction in leadership, mentorship, communication and
     group/team dynamics, risk management, strategy formulation, adaptation, resilience, crisis
     negotiation, terrorism, interviewing, interrogation, major case management, violence and
     sex crimes for organizations including:

          •   FBI Academy and FBI National Academy
          •   Federal Executive Board – Great Lakes region and GSA
          •   Google
          •   Advocate Health Care
          •   Catholic Charities Chicago
          •   Family Action Network
          •   United States Conference of Catholic Bishops
          •   University of Notre Dame, ESTEEM
          •   University of Chicago Booth School of Business & School of Psychology
          •   Chicago School of Professional Psychology
          •   NYPD, CPD, Portland PD, Canadian Royal Mounted Police, Calgary PD, NJSP
          •   Middle East Law Enforcement Training Academy
          •   Cleveland Airport Authority
          •   US Coast Guard
          •   FBI InfraGuard
          •   Chief Financial Officers Association
          •   Keynote: CA, NY, New England, FL, Western States, WI, MI, OH, KS, MO, IN
              Crisis/Hostage Negotiator Conferences




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